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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

    NICHOLE BEINER,

                            Plaintiff,
                                                                Civil Action No. 24-cv-8600
              -against-

    ANGÉLICQUE M. MORENO, Chair of the
    State of New York Grievance Committee for                   COMPLAINT
    the Second, Eleventh, and Thirteenth Judicial
    Districts, in her official capacity; DAVID W.
    CHANDLER, Chief Attorney of the State of
    New York Grievance Committee for the
    Second, Eleventh, and Thirteenth Judicial
    Districts, in his official capacity; and HECTOR
    D. LaSALLE, Presiding Justice of the Second
    Judicial Department of the Appellate Division
    of the Supreme Court of the State of New York,
    in his official capacity,

                            Defendants.


         Plaintiff Nichole Beiner, by and through her attorneys, Emery Celli Brinckerhoff Abady

  Ward & Maazel LLP, for her complaint alleges as follows:

                                             INTRODUCTION

         1.        Law professor Tracy Maclin sexually assaulted and sexually harassed his then

  student, Nichole Beiner (“Ms. Beiner”), the Plaintiff here. Professor Maclin was admitted to

  practice law by the Second Judicial Department in 1985 and remains a member of the New York

  Bar.

         2.        An independent law firm, hired by Professor Maclin’s former law school

  employer, produced an investigative report (the “Report”) that substantiated Ms. Beiner’s

  allegations in their entirety. The Report confirmed that Professor Maclin sexually assaulted Ms.

  Beiner on two occasions and subjected her to repeated sexual harassment while she was his


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  student. The Report also found that Professor Maclin had sexually assaulted another female

  student.

         3.      Shortly after the Report was released, Professor Maclin resigned from his

  professorship and accepted a teaching position at the University of Florida School of Law. On

  information and belief, Professor Maclin remains employed by the University of Florida as a law

  professor, where he is able to prey on other students.

         4.      On April 11, 2023, Ms. Beiner filed a complaint against Professor Maclin with the

  New York State Attorney Grievance Committee for the Second, Eleventh, and Thirteenth Judicial

  Districts (the “Grievance Committee” or “Committee”). Ms. Beiner alleged in the complaint that

  Professor Maclin sexually assaulted and sexually abused her while she was Professor Maclin’s

  student and submitted the Report to substantiate her complaint.

         5.      The Committee staff at first, shockingly, refused to investigate Ms. Beiner’s

  complaint. After Ms. Beiner made a demand for reconsideration, the Committee concluded a

  perfunctory investigation and issued a private and confidential decision consisting of a Letter of

  Admonition.

         6.      On September 4, 2024, despite Ms. Beiner’s request, the Committee refused to

  give her a copy of its decision, or to give her access to any of its file so that she could know the

  basis for the Committee’s decision.

         7.      The Committee’s refusal to provide these documents to Ms. Beiner violates her

  First Amendment rights.

         8.      In Civ. Rts. Corps v. LaSalle, No. 21-Civ-9128, 2024 WL 3496607 (S.D.N.Y. July

  22, 2024), the U.S. District Court for the Southern District of New York (Marrero, J.) squarely

  held, earlier this year in a parallel case, that the Grievance Committee cannot deny a

  complainant, such as Ms. Beiner, access to its decision and to other documents created in an
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  attorney disciplinary investigation. The Court explicitly held that the First Amendment requires

  access to attorney disciplinary proceedings of public importance, like this one, stating: “The

  public cannot have faith in a process that it cannot see.”1

          9.      Ms. Beiner now brings this case to enforce her First Amendment right to access

  the Committee’s decision and the Committee’s file.

                                                  PARTIES

          10.     Plaintiff Nichole Beiner currently resides in Brookline, Massachusetts.

          11.     Defendant Angélicque M. Moreno is the Chair of the State of New York

  Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts (the “Grievance

  Committee” or “Committee”). She is sued in her official capacity. The Grievance Committee is

  an “Attorney Grievance Committee,” as defined by 22 N.Y.C.R.R. § 1240.2(d), that is endowed

  with the power and responsibility to investigate and sanction attorney misconduct and ethical

  breaches. As Chair of the Grievance Committee, Defendant Moreno is a member of the

  Grievance Committee and has special responsibilities and powers beyond those of an ordinary

  Grievance Committee member. See 22 N.Y.C.R.R. § 1240.7(e).

          12.     Defendant David W. Chandler is the Chief Attorney of the Grievance Committee.

  He is sued in his official capacity. See 22 N.Y.C.R.R. § 1240.5. As such, he is empowered to

  investigate professional misconduct complaints and is obligated to report certain information to a

  complainant about any disciplinary proceedings resulting from his or her complaint. See 22

  N.Y.C.R.R. § 1240.7.

          13.     Defendant Hector D. LaSalle is the Presiding Justice of the Second Judicial

  Department of the Appellate Division of the Supreme Court of the State of New York (the



  1
         Civ. Rts. Corps v. LaSalle, No. 21-Civ-9128 (VM), 2024 WL 3496607 (S.D.N.Y. July 22, 2024) (quoting
  Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 572 (1980)).
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  “Second Department”). He is sued in his official capacity. The Second Department, as one of

  four Appellate Divisions of the Supreme Court of the State of New York, is vested by the New

  York legislature with the power and ultimate authority to regulate attorney admissions and

  conduct within its jurisdiction, including by promulgating rules concerning attorney discipline.

  See New York Judiciary Law § 90(2).

                                        JURISDICTION AND VENUE

          14.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (action

  arising under the Constitution and federal law) and § 1343(a) (action to redress deprivation of

  civil rights).

          15.      This action arises under 42 U.S.C. § 1983. Plaintiff’s claims for declaratory and

  injunctive relief are authorized by 28 U.S.C. §§ 2201 and 2202.

          16.      Venue is lodged in this Court pursuant to 28 U.S.C. § 1391(b) because one or

  more Defendants reside in this judicial district and all Defendants are residents of New York, or,

  alternatively, because a substantial part of the events and/or omissions giving rise to the claims

  occurred in this judicial district.

                                         FACTUAL ALLEGATIONS

  An Independent Investigation Finds that Professor Maclin Sexually Assaulted Ms. Beiner

          17.      In 2021, an independent law firm was hired to investigate Professor Tracey

  Maclin after Ms. Beiner submitted a complaint to her former law school—and Professor

  Maclin’s then-employer—that Professor Maclin had sexually harassed and assaulted her when

  she was his student.

          18.      Over the course of their investigation, the law firm conducted interviews with

  eleven people and reviewed contemporaneous documents, including emails, text messages,

  voicemails, and calendar entries.
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         19.     At the conclusion of its investigation, in a Final Investigative Report dated March

  15, 2022, the law firm substantiated the allegations of both Ms. Beiner and another former

  student who also alleged that Professor Maclin had sexually assaulted that student.

         20.     Notably, the Report found that “Professor Maclin[] had unwanted physical contact

  of a sexual nature with Ms. Beiner by kissing her, groping her, causing her to grope him, and

  causing her to perform sexual acts on him without her consent.”

         21.     The Report also concluded that “Professor Maclin’s account [was] not credible by

  a preponderance of the evidence.”

         22.     After the submission of the Report, Professor Maclin resigned and became

  employed by the University of Florida’s Levin College of Law.

  Ms. Beiner Files a Complaint with the Attorney Grievance Committee

         23.     On April 11, 2023, Ms. Beiner, through her attorneys, submitted a formal

  complaint against Professor Maclin to the Grievance Committee (the “Complaint”).

         24.     In the Complaint, Ms. Beiner accused Professor Maclin of violating N.Y. Rules of

  Professional Conduct 8.4(b) (engaging in “illegal conduct that adversely reflects on the lawyer’s

  honesty, trustworthiness or fitness”), 8.4(c) (engaging in “conduct involving dishonesty, fraud,

  deceit or misrepresentation”) and 8.4(h) (engaging in “any other conduct that adversely reflects

  on the lawyer’s fitness as a lawyer”). The Complaint attached the Report.

         25.     Initially, the Committee summarily refused to investigate and dismissed Ms.

  Beiner’s Complaint.

         26.     After Ms. Beiner filed a request for reconsideration to the Committee outlining

  why her Complaint against Professor Maclin deserved actual consideration, the Grievance

  Committee relented and purportedly opened an investigation into Professor Maclin’s misconduct.



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          27.      Thereafter, on November 21, 2023, the Grievance Committee forwarded to Ms.

  Beiner a copy of Professor Maclin’s Answer to the Complaint; on December 18, 2023, Ms.

  Beiner sent a Reply to the Grievance Committee outlining the inadequacies of Professor

  Maclin’s Answer; and on December 21, 2023, Professor Maclin submitted a Sur-Reply.

          28.      The Grievance Committee never interviewed Ms. Beiner or requested that she

  submit any additional evidence.

          29.      On information and belief, the Committee conducted no further investigation.

          30.      On July 25, 2024, the Grievance Committee notified Ms. Beiner of its decision on

  her Complaint, concluding in pertinent part that: “the Committee found that [Professor Maclin’s]

  conduct constituted a breach of the Rules of Professional Conduct and directed that an

  ADMONITION be issued to [Professor Maclin] for engaging in conduct that adversely reflects

  on his fitness as an attorney.”

          31.      A Letter of Admonition is a form of private discipline issued to attorneys who

  “committed clear professional misconduct that was not sufficiently serious to warrant the

  commencement of a formal disciplinary proceeding.”2

          32.      Ms. Beiner could not understand how the Committee could reasonably have

  substantiated her allegations or fairly found that sexual assault and harassment were not

  “sufficiently serious” to warrant public discipline.

          33.      On August 12, 2024, citing and relying on the holding in Civil Rights Corps v.

  LaSalle, Ms. Beiner wrote to then-Committee Chair Andrea Bonina requesting that the

  Committee provide her with a copy of the Committee’s decision and “all the materials




  2
   Attorney Matters, SUP. CT. OF THE STATE OF N.Y. APP. DIV. FOR THE SECOND JUD. DEP’T,
  https://www.nycourts.gov/courts/ad2/attorneymatters_complaintaboutalawyer.shtml (last visited Oct. 30, 2024).
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  considered and created during the course of the Committee’s investigation into Professor

  Maclin’s misconduct.”

          34.      In response, and notwithstanding Judge Marrero’s ruling in LaSalle, the

  Committee refused to provide to Ms. Beiner with either its decision or any other documents

  arising from her Complaint, concluding, “the matters remain sealed and deemed private and

  confidential[.]”

  New York Law Keeps Disciplinary Proceedings Confidential

          35.      Attorney grievance proceedings are supposed to “protect the public, maintain the

  integrity and honor of the profession, [and] deter the commission of similar misconduct…” See

  22 N.Y.C.R.R. § 1240.7(d)(2)(v).

          36.      Despite this righteous purpose, in almost all cases and disciplinary investigations

  and proceedings in New York are conducted in secret, out of the public eye.

          37.      In that regard, New York Judiciary Law § 90(10) expressly requires the sealing

  and confidentiality of all “complaint[s], inquir[ies], investigation[s,] or proceeding[s] relating to

  the conduct or discipline of an attorney[.]” This information can only be unsealed and deemed

  public after a due process hearing and if the Appellate Division finds that public discipline of the

  attorney is warranted, or “upon good cause being shown[.]”3

          38.      Most attorney grievance procedures throughout the country do not require the

  same level of confidentiality that is required by New York Judiciary Law § 90(10). Such




  3
           Making a good cause application as a member of the general public—which includes complainants and
  respondents in a disciplinary proceeding—is “an academic exercise” that would be “futile.” Civ. Rts. Corps v.
  LaSalle, No. 21-cv-9128, 2024 WL 3496607, at *14 (S.D.N.Y. July 22, 2024). Appellate Divisions in New York
  have only ever granted three good cause applications filed by a member of the general public, and the Second
  Department has never granted a Good Cause Application filed by a member of the general public. See id. (citing In
  re Aretakis, 16 A.D.3d 899 (3d Dep’t 2005); In re New York News, 113 A.D.2d 92 (1st Dep’t 1985); In re Capoccia,
  59 N.Y.2d 549 (3d Dep’t 1983)).

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  jurisdictions allow open proceedings following a finding of “probable cause” by an authorized

  Bar Committee.4

          39.      Many courts in other jurisdictions have found that overbroad confidentiality rules

  for attorney disciplinary processes violate the First Amendment.5

  The U.S. District Court for the Southern District of New York Finds New York Judiciary Law
  § 90(10) Unconstitutional as Applied

          40.      On November 4, 2021, the Civil Rights Corps and several other grievance

  complainants filed a case in the United States District Court for Southern District of New York

  alleging, in part, that New York Judiciary Law § 90(10) violated the right of public access

  protected by the First Amendment of the United States Constitution. Specifically, after the Civil

  Rights Corps plaintiffs filed complaints with the New York State Grievance Committee for the

  Second, Eleventh, and Thirteenth Judicial Districts alleging instances of prosecutorial

  misconduct, and published those complaints online, the Committee refused to provide the

  grievants with any information regarding its investigation or disposition of said complaints. In

  bringing suit, the plaintiffs sought, among other things, a declaratory judgment holding that New

  York Judiciary Law § 90(10)’s confidentiality provision violates the First Amendment of the U.S.




  4
           New York State Commission on Statewide Attorney Discipline, Final Report to Chief Judge Jonathan
  Lippman, the Court of Appeals, and the Administrative Board of the Courts (September 24, 2015) (the “Lippman
  Commission Report”),
  78-79, available at http://ww2.nycourts.gov/sites/default/files/document/files/2020-10/AttyDiscFINAL9-24-1.pdf.
  5
           See, e.g., Doe v. Supreme Court of Fla., 734 F. Supp. 981, 988 (S.D. Fla. 1990) (holding that a Florida Bar
  Rule that prohibited speaking about a meritorious grievance violates the First Amendment); In re Petition of Brooks,
  678 A.2d 140, 143-46 (N.H. 1996) (holding that a New Hampshire Supreme Court Rule that prohibited a
  complainant “from revealing the fact that a complaint had been filed, what information or testimony the complainant
  provided the committee, any action taken by the committee in response to the complaint, and any information
  acquired by the complainant through interaction with the committee” violates the First Amendment); R.M. v.
  Supreme Court, 883 A.2d 369, 377-82 (N.J. 2005) (holding that a New Jersey Supreme Court Rule that prohibited
  speech on a “given disciplinary matter and the associated written records” violates the First Amendment); In re
  Warner, 21 So. 3d 218, 262 (La. 2009) (holding that a Louisiana Supreme Court Rule that prohibited speech about
  attorney disciplinary proceedings until the filing of formal charges violates the First Amendment).
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  Constitution and an injunction preventing the Committee from enforcing that provision. See

  Complaint, Civ. Rts. Corps v. Cushman, No. 21-Civ-9128 (S.D.N.Y. Nov. 4, 2021), ECF No. 1.

         41.        Although the federal complaint and exhibits were initially filed under seal, the

  complaint was immediately unsealed, and the exhibits—containing the grievance complaints

  initially filed by the plaintiffs— were also unsealed three months later. See Civ. Rts. Corps v.

  Pestana, No. 21-Civ-9128, 2022 WL 220020 (S.D.N.Y. Jan. 25, 2022).

         42.        On July 22, 2024, the Court granted the plaintiffs’ motion for summary judgment,

  holding that “a presumptive First Amendment Right of Access applies to [Grievance Committee]

  dispositions.” Civ. Rts. Corps v. LaSalle, No. 21-Civ-9128, 2024 WL 3496607, at *39 (S.D.N.Y.

  July 22, 2024).

         43.        Further, the Court held that “a presumptive First Amendment right of access

  attaches to (1) all disciplinary hearings in the Second Judicial Department… and (2) documents

  necessary to understand those hearings[.]” Id.

         44.        The Court reasoned that “experience and logic both support a presumptive right

  of access to Committee dispositions” and that the State had not proffered a “higher value” that

  supersedes the First Amendment’s presumption of access. Id. at *36-37.

                                       FIRST CAUSE OF ACTION
                    Violation of the First Amendment of the United States Constitution
                                             42 U.S.C. § 1983
                                          (Against All Defendants)
         45.        Plaintiff realleges as if fully set forth herein the allegations contained in the

  preceding paragraphs.

         46.        The First Amendment of the United States Constitution provides the public with a

  qualified right of access to government proceedings and records.

         47.        New York State Judiciary Law § 90(10)’s confidentiality provision—as applied to

  Ms. Beiner’s Complaint, the Committee’s decision, and the other documents created by the
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 Committee in this matter—violates Ms. Beiner’s right of access guaranteed by the First

 Amendment of the United States Constitution.

           48.   Here, the Committee acted as an adjudicatory body when it decided the

 Complaint and chose to issue a Letter of Admonition to Professor Maclin. See LaSalle, 2024 WL

 3496607, at *32 (“[W]hen the Committee issues dispositions, it makes an authoritative

 determination on accusations of misconduct and therefore acts in its adjudicative role, not in its

 prosecutorial role.”)

           49.   Caselaw, experience, and logic all require that the documents created and relied

 upon during the Committee’s adjudicatory processes, including the dispositions of such

 processes, are entitled to a presumption of access under the First Amendment.

           50.   In New York, attorney disciplinary complaints were historically heard in a public

 forum: “The record is clear that by the late nineteenth and early twentieth centuries, attorney

 disbarment proceedings were public affairs.” See id. at *27.

           51.   Additionally, making public the documents created and relied upon by the

 Committee “diminishes the possibilities for injustice, incompetence, perjury, and fraud.” See id.

 at *28.

           52.   Neither of the dual concerns that New York Judiciary Law § 90(10) aims to

 protect—shielding a complainant from public disclosure of private information and insulating an

 attorney from irreparable harm based on unfounded allegations—apply here. First, as the

 complainant, Ms. Beiner is affirmatively waiving her right to privacy and confidentiality

 regarding her allegations in the Complaint. Second, there is no concern about unfounded

 allegations against Professor Maclin because the Grievance Committee determined that Ms.

 Beiner’s allegations of sexual assault and harassment were well founded.



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        53.       Further, “injury to official reputation is an insufficient reason ‘for repressing

 speech that would otherwise be free.’” Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829, 841-

 42 (1978).

        54.       Therefore, application of the confidentiality provision set forth in New York

 Judiciary Law § 90(10) in this case serves no legitimate government interest which could

 override the presumption of access under the First Amendment.

        55.       Thus, and as applied to these facts, the First Amendment of the United States

 Constitution requires that all records and proceedings arising out of Plaintiff’s Complaint to the

 Committee, and in particular the Committee’s decision, be made public and otherwise accessible

 to Ms. Beiner.


                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests judgment against Defendants:

                  a) Declaring that Judiciary Law § 90(10) violates the First Amendment of the

                     United States Constitution insofar as it is applied to deny public access to any

                     and all records and proceedings resulting from the Plaintiff’s Complaint to the

                     Committee;

                  b) Preliminarily and permanently enjoining all Defendants and their employees,

                     agents, and any and all persons acting in concert with them from enforcing or

                     attempting to enforce Judiciary Law § 90(1) insofar as it is applied to deny

                     public access to any and all records and proceedings resulting from Plaintiff’s

                     Complaint to the Committee;




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             c) Ordering Defendants and their employees, agents, and any and all persons

                 acting in concert with them to make public any and all records resulting from

                 Plaintiff’s Complaint to the Committee;

             d) Awarding Plaintiff her costs and reasonable attorneys’ fees in this action; and,

             e) Any other or further or just relief the Court deems appropriate.


 Dated: December 17, 2024
        New York, New York
                                                   EMERY CELLI BRINCKERHOFF
                                                   ABADY WARD & MAAZEL LLP


                                                          /s/
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